Case: 1:24-cv-11801 Document #: 130 Filed: 04/21/25 Page 1 of 1 PageID #:3386

                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Redner's Markets, Inc., et al.
                                         Plaintiff,
v.                                                       Case No.: 1:24−cv−11801
                                                         Honorable Jeffrey I Cummings
Lamb Weston Holdings, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 21, 2025:


       MINUTE entry before the Honorable Jeffrey I Cummings: Plaintiff's unopposed
motion to reassign case as related [126] is granted. The Court requests that the Executive
Committee re−assign Case No. 25−cv−3032, Paper Plate LIC, LLC v. Lamb Weston
Holdings, Inc. et al, to this Court as related to Case No. 24−cv−11801, In Re Frozen
Potato Products Antitrust Litigation. Upon reassignment, the Clerk shall administratively
close Case No. 25−cv−3032. Mailed notice (cc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
